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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Action No. 21-cr-00229-RBJ

UNITED STATES OF AMERICA,

       Plaintiff,
v.

1. DAVITA INC.,
2. KENT THIRY,

       Defendants.

     UNITED STATES’ RESPONSE TO DEFENDANTS’ MOTION TO EXCLUDE THE
                      TESTIMONY OF JAMES THURMAN

       In response to Defendants’ Motion to Exclude the Testimony of James “Skip” Thurman,

the United States states as follows:

       1.      The United States noticed Mr. Thurman as a witness in this case, consistent with

the Court’s deadlines, on March 25, 2022. ECF No. 215.

       2.      As the United States has repeatedly informed counsel for Defendants, the United

States does not intend to elicit any testimony concerning unnoticed 404(b) material. See, e.g.,

ECF No. 244-1 at 4 (Email from Sara Clingan to John Walsh) (“For the avoidance of doubt, we

don’t intend to elicit any testimony from Mr. Thurman concerning un-noticed 404(b). Hope that

resolves any concerns; otherwise happy to confer.”)

       3.      Although the United States noticed Mr. Thurman for one hour of testimony, the

United States anticipates that the direct examination of Mr. Thurman will take approximately 20

minutes. The United States does not anticipate any testimony that will approach the prejudicial

line under Rule 403.



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       4.      The United States anticipates that Mr. Thurman will testify concerning the

following topics. Excerpts of the transcript of Defendants’ cross-examination on Friday, April 8,

2022, which opened the door concerning each of these topics, are attached as Exhibit A.

            a. Mr. Thurman and his colleagues were not compensated competitively as DaVita

               employees.

            b. Defendants’ did not view it positively when employees left DaVita, and sought to

               hinder employees’ ability to leave.

            c. Mr. Thurman did not observe that Defendants’ lived by their stated values

               concerning corporate citizenship and integrity. Mr. Thurman’s direct testimony

               on this topic will be limited to DaVita’s recruitment and retention practices.

            d. Defendants’ did not meaningfully prioritize diversity.

Dated: April 10, 2022                     Respectfully submitted,


                                          /s/ Sara M. Clingan
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                                          Megan S. Lewis, Assistant Chief
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                                CERTIFICATE OF SERVICE

       On April 10, 2022, I filed this document with the Clerk of the Court using CM/ECF,

which will serve notice on all counsel of record.


                                                        /s/ Sara M. Clingan
                                                        Sara M. Clingan
                                                        Trial Attorney




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